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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 MAYOR AND CITY COUNCIL OF
 BALTIMORE, et al.,

 Plaintiffs,
                                                 Case No. 25-cv-458-ABA
 v.

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

 Defendants.




                          [PROPOSED] ORDER GRANTING
                      JOINT MOTION FOR BRIEFING SCHEDULE

        Upon consideration of the parties’ joint motion for briefing schedule, it is hereby

        ORDERED that the motion is GRANTED; it is further

        ORDERED that this Court shall construe Plaintiffs’ motion for a temporary

restraining order (ECF 8) as one for preliminary injunction; it is further

        ORDERED that Defendants shall file an opposition to that motion by no later than

February 20, 2025; it is further

        ORDERED that Plaintiffs shall file a reply, if any, by no later than February 25,

2025; it is further

        ORDERED that the parties shall appear for a hearing on that motion on February

[DATE], 2025, at [TIME]; it is further

        ORDERED that for a period of time beginning with the entry of this Order, and

expiring at 9:00 a.m. Eastern on February 28, 2025, or upon entry of a contrary order by

this Court, Defendants, their officers, agents, servants, employees, and attorneys will not:
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(1) transfer money from the Consumer Financial Protection Bureau’s reserve funds, other

than to satisfy the ordinary operating obligations of the Bureau; (2) relinquish control or

ownership of the Bureau’s reserve funds nor grant control or ownership of the Bureau’s

reserve funds to any other entity; (3) return any money from the Bureau’s reserve funds to

the Federal Reserve or the Department of Treasury; or (4) otherwise take steps to reduce

the amount of money available to the Bureau below the amount available as of February

13, 2025, other than to satisfy the ordinary operating obligations of the Bureau; and it is

further

          ORDERED that those obligations apply to any successor occupying Acting

Director Vought’s position, including any officer otherwise exercising the powers of the

Director of the Consumer Financial Protection Bureau.

          SO ORDERED.



Dated: February ____, 2025                   ___________________________________
                                             THE HON. ADAM B. ABELSON
                                             UNITED STATES DISTRICT JUDGE




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